                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN

WILLIAM FEEHAN,
                                               No. 2:20-cv-1771
                 Plaintiff,

      v.

WISCONSIN ELECTIONS
COMMISSION, and its members ANN
S. JACOBS, MARK L. THOMSEN,
MARGE BOSTELMANN, JULIE M.
GLANCEY, DEAN HUDSON, ROBERT
F. SPINDELL, JR., in their official
capacities, GOVERNOR TONY EVERS,
in his official capacity,

                 Defendants.



      EXPEDITED NONDISPOSITIVE MOTION TO INTERVENE OF
        PROPOSED INTERVENOR-DEFENDANT DEMOCRATIC
         SERVICES CORPORATION/DEMOCRATIC NATIONAL
       COMMITTEE (THE “DNC”) PURSUANT TO CIVIL L. R. 7(h)

      Proposed Intervenor-Defendant Democratic Services Corporation/Democratic

National Committee (“DNC”) respectfully moves for expedited consideration of its

motion for leave to intervene in this action to defend its interests against the claims

asserted by Plaintiff. For the reasons discussed in the Proposed Intervenor-

Defendant DNC’s Brief in Support of Motion to Intervene (“DNC Intervention Brief)

filed on December 4, 2020 (Dkt. No. 23), the DNC is entitled to intervene in this case

as a matter of right under Federal Rule of Civil Procedure 24(a)(2). In the alternative,

the DNC requests permissive intervention pursuant to Rule 24(b).




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      At the time the DNC filed its Motion to Intervene, 1 the Court had indicated it

would await the Defendants’ opposition brief, which Plaintiff had 21 days to file. Dkt.

No. 7. Thereafter, this Court set an expedited briefing schedule requiring responses

and replies to be filed by December 7 and 8, 2020, respectively. Today, December 5,

2020, the Court also set a deadline of December 28, 2020, for Plaintiff’s response to

the DNC’s Motion to Intervene.

      In order to protect Proposed Intervenor-Defendant DNC’s rights and critical

interests as set forth in the DNC Intervention Brief, the DNC respectfully requests

that the Court consider the DNC’s motion expeditiously and grant it permission to

intervene in this case as soon as reasonably possible. The DNC is prepared to submit

its response as an Intervenor-Defendant in accordance with this Court’s schedule

(i.e., by 5:00 p.m. on December 7, 2020).

      Counsel for the DNC has asked counsel for both the Plaintiff and the

Defendants if they oppose the DNC’s motion to intervene. Plaintiff’s counsel states

that that it opposes the DNC’s motion. None of the Defendants oppose the DNC’s

motion.

      WHEREFORE, the DNC requests that the court grant it leave to intervene in

the above-captioned matter so that it may file its response in accordance with the

Court’s expedited schedule in this matter.

      DATED: December 5, 2020




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       Dkt. No. 22. In accordance with Rule 24(c), a proposed answer to Plaintiff’s
complaint was attached as Exhibit 1 to the DNC’s Motion to Intervene. Id.,
Attachment 1.


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                                         Respectfully Submitted,

                                         s/Michelle M. Umberger
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                            CERTIFICATE OF SERVICE

       I hereby certify that on Saturday, December 5, 2020, I filed a copy of the

foregoing with the Clerk of the Court using the CM/DKT. system, which will send

notification of such filing to all counsel of record.


                                             /s/ Michelle M. Umberger
                                             Counsel for Proposed Intervenor




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